           Case 1:14-vv-00964-UNJ Document 27 Filed 07/17/15 Page 1 of 7




        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 14-964V
                                       Filed: June 18, 2015
                                           Unpublished

****************************
PATRICIA L. KNOLL,                      *
                                        *
                    Petitioner,         *       Joint Stipulation on Damages;
       v.                               *       Influenza Vaccine or Flu Vaccine;
                                        *       Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                     *       Administration (“SIRVA”);
AND HUMAN SERVICES,                     *       Special Processing Unit (“SPU”);
                                        *
                    Respondent.         *
                                        *
****************************
Richard Moeller, Esq., Berenstein, Moore, et al., Sioux City, IA, for petitioner.
Justine Walters, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                                DECISION AWARDING DAMAGES1

Vowell, Chief Special Master:

       On October 9, 2014, Patricia L. Knoll filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that she suffered “left shoulder
granuloma and tendinopathy, requiring surgery and resulting in residual effects and
complication” caused by the influenza vaccination she received on January 17, 2013.
Petition at 1; accord. Stipulation, filed June 18, 2015, ¶¶ 2, 4. Petitioner further alleges
that she experienced the residual effects of her shoulder injury for more than six months
and required inpatient hospitalization and surgical intervention. Petition, ¶¶ 30-31.
Respondent denies that the influenza vaccination caused petitioner’s shoulder injury or
any other injury. Stipulation, ¶ 6.



1 Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post it on the United States Court of Federal Claims' website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
          Case 1:14-vv-00964-UNJ Document 27 Filed 07/17/15 Page 2 of 7



       Nevertheless, the parties have agreed to settle the case. Stipulation, ¶ 7. On
June 18, 2015, the parties filed a joint stipulation agreeing to settle this case and
describing the settlement terms.

      Respondent agrees to pay petitioner a lump sum of $90,000.00 in the form of a
check payable to petitioner, Patricia L. Knoll. Stipulation, ¶ 8. This amount represents
compensation for all damages that would be available under 42 U.S.C. § 300aa-15(a).
Id.

      I adopt the parties’ stipulation attached hereto, and award compensation in the
amount and on the terms set forth therein. In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment in
accordance with this decision.3

                                        s/Denise K. Vowell
                                        Denise K. Vowell
                                        Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each filing a notice renouncing
the right to seek review by a United States Court of Federal Claims judge.
                                                      2
Case 1:14-vv-00964-UNJ Document 27
                                16 Filed 07/17/15
                                         06/18/15 Page 3
                                                       1 of 7
                                                            5
Case 1:14-vv-00964-UNJ Document 27
                                16 Filed 07/17/15
                                         06/18/15 Page 4
                                                       2 of 7
                                                            5
Case 1:14-vv-00964-UNJ Document 27
                                16 Filed 07/17/15
                                         06/18/15 Page 5
                                                       3 of 7
                                                            5
Case 1:14-vv-00964-UNJ Document 27
                                16 Filed 07/17/15
                                         06/18/15 Page 6
                                                       4 of 7
                                                            5
Case 1:14-vv-00964-UNJ Document 27
                                16 Filed 07/17/15
                                         06/18/15 Page 7
                                                       5 of 7
                                                            5
